       Case 1:20-cv-09281-LTS-DCF Document 19 Filed 12/01/20 Page 1 of 2




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 MARIANNE RENOIS,
                                                           20cv09281 (LTS) (DF)
                                Plaintiff,
                                                           SCHEDULING ORDER
                -against-

 WVMF FUNDING, LLC et al.,

                                Defendants.

DEBRA FREEMAN, United States Magistrate Judge:

       This case having been referred to this Court for general pretrial supervision, it is hereby

ORDERED as follows:

       1.      The Court will hold a telephonic initial pretrial conference in the above-captioned

case on January 12, 2021 at 10:00 a.m. The parties are directed to call the following Toll-Free

Number: 877-411-9748 and use Access Code: 9612281.

       2.      The parties are directed to file, no later than January 5, 2021, a jointly proposed

discovery plan, pursuant to Rule 26(f) of the Federal Rules of Civil Procedure. This submission

should address all of the matters set out in Rule 26(f)(3), and should specifically include

proposed deadlines for:

               a.      service of initial disclosures under Rule 26(a)(1);

               b.      service of initial document requests and interrogatories;

               c.      any motion for joinder of other parties or amendment of the pleadings;
      Case 1:20-cv-09281-LTS-DCF Document 19 Filed 12/01/20 Page 2 of 2




              d.        completion of fact discovery; and

              e.        expert disclosures and the completion of expert discovery, if any.


Dated: New York, New York
       December 1, 2020

                                                      SO ORDERED


                                                      ______________________________
                                                      DEBRA FREEMAN
                                                      United States Magistrate Judge
Copies to:

All counsel (via ECF)




                                                 2
